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                           EXHIBIT 3
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                                                November 4, 2020

VIA EMAIL AND FIRST-CLASS MAIL

Daniel E. Gardenswartz
SOLOMON WARD SEIDENWURM & SMITH LLP
401 B Street, Suite 1200
San Diego, CA 92101

Re:       Monster Energy Company v. City Beverages LLC d/b/a Olympic Eagle Distributing

Dear Dan:

We are writing in one last effort to resolve the parties’ apparent impasse on how to proceed with the
remand arbitration before a fair and impartial neutral.

Judge Klausner found the arbitration clause in the agreements Olympic Eagle signed with Monster
Energy to be “adhesive” and to have a degree of procedural unconscionability because they were drafted
by your client and presented on a take-it-or-leave-it basis. The arbitration clause required disputes to be
resolved through JAMS, which represents itself as a neutral and fair forum.

But JAMS’ actions this year in and as a result of the federal court litigation have demonstrated that it is
no longer neutral and cannot serve as a neutral forum as to this dispute. JAMS took what it admitted
was the unprecedented step of breaking the obligation of neutrality to join Monster’s effort to overturn
the Ninth Circuit’s decision vacating the arbitration award, first in a brief to the Ninth Circuit and then
in a brief to the United States Supreme Court.

JAMS explained to the U.S. Supreme Court its “extraordinary” decision to join forces with Monster
Energy as follows:

          JAMS is a neutral ADR provider that has always refrained from supporting or opposing
          challenges to the arbitral process or arbitration awards. Yet the Ninth Circuit’s decision is
          so harmful to efficient commercial arbitration, and so incorrect in its factual assumptions,
          that JAMS concluded it had no choice but to take this extraordinary step, first at the
          rehearing level before the Ninth Circuit and now before this [the U.S. Supreme] Court.

JAMS was aggressive in seeking to reverse Olympic Eagle’s victory, making misleading factual
statements and saying its business would be harmed if the decision was not reversed. JAMS said it was
forced to change its disclosure practices as a result of Olympic Eagle’s victory in the Ninth Circuit.
Recently, a federal court observed that JAMS’ revised disclosure standards remain incomplete, which
we believe means they will be the subject of further litigation.


SEATTLE              PORTLAND            WASHINGTON, D.C.          NEW YORK              SPOKANE             BEIJING
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Under the Federal Arbitration Act and California law, parties are entitled to a neutral forum—one that is
not only unbiased, but avoids even the appearance of bias. Since JAMS is not neutral in this dispute, its
continued involvement will undermine the goal of resolving this litigation with fairness and finality.

Olympic Eagle has made repeated efforts, over a period of more than a year, to discuss how to ensure a
neutral arbitration forum in this case. In July 2019, Olympic Eagle asked by email that Monster Energy
agree to the appointment of a neutral “who has no current affiliation or former affiliation with the
company.” Monster Energy did not respond to that request.

At the time, we contemplated the possibility that JAMS could serve a limited role as the case
administrator, never expecting that JAMS would, just a few months later, break its neutrality to file the
first of two briefs asking for a reversal of the Ninth Circuit’s decision in Olympic Eagle’s favor.

In December 2019, we asked again by email if Monster Energy “will require the arbitration be
administered by JAMS as specified by the agreement, or [] if it is willing to consider an alternative.”

In August 2020, just a few weeks after the U.S. Supreme Court denied Monster Energy’s certiorari
request and the mandate was returned from the Ninth Circuit, we asked to discuss, among other issues,
an agreement on a new arbitration service provider and “preferably [] selection of a neutral not affiliated
with JAMS.”

In a meet and confer with you about Olympic Eagle’s prejudgment interest motion, we indicated that
Olympic Eagle would not agree to have the remand proceeding administered by JAMS or to have a
JAMS neutral as the arbitrator. We suggested the parties choose the American Arbitration Association
as the neutral provider. In response to that motion, Monster Energy argued in its brief that the
prejudgment interest issue should be decided by a JAMS neutral.

It appears the parties are at an impasse about how to provide for a neutral arbitration forum. But to
avoid any doubt, Olympic Eagle proposes the remand proceeding be conducted by a neutral arbitration
service provider, the American Arbitration Association. We welcome and will fully consider any
alternatives to JAMS that you propose. JAMS cannot take an advocacy stance, suffer a ruling that it
thinks is harmful to its entire business model, and then return to serve as a neutral.

If the parties are unable to agree, we will file a motion with Judge Klausner to appoint an alternative
provider and for other appropriate relief.

Because we have been discussing this issue with you for more than a year, we ask for your response no
later than November 10.
                                           Sincerely,

                                             FOSTER GARVEY PC


                                           ,a
                                       / /isiMichael Vaska
